CASE 0:22-cr-00040-JRT-LIB Doc.177 Filed 11/25/24 Page1of3

United States District Court
STATE AND DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA GOVERNMENT'S EXHIBIT LIST
v. NO. 22-40 (JRT/LIB)
HARSHKUMAR RAMANLAL PATEL, et al..

DISTRICT COURT JUDGE GOVERNMENT’S ATTORNEY DEFENDANT'S ATTORNEY

John R. Tunheim Michael P. McBride, AUSA_ | Aaron Morrison, Esq.
Ryan Lipes, Trial Attorney Lisa Lopez, Esq.

Thomas Leinenweber, Esq.
Thomas Plunkett, Esq.

TRIAL DATE(S) COURT REPORTER COURTROOM DEPUTY

November 18, 2024

EX. DATE
NO. | OFFERED MARKED | ADMITTED DESCRIPTION OF EXHIBIT

1A 11/19/24 v v NDAWN Data

1B 11/19/24 v v Select NDAWN Dawn 3am-8am

3 11/19/24 v v Map of area

4 11/19/24 v v Photos of van

5 11/19/24 v v Enterprise Rental Agreement from Van

6 11/19/24 v v Alamo Rental Agreement from Van

7 11/19/24 v v La Quinta Receipt from Van

8 11/19/24 v v Walmart Receipt

9 11/19/24 v v Shoeprint from Previous Smuggling Event

10 11/19/24 v v Photos of Tracks

1] 11/19/24 v v Photos of Migrants’ Boots and Clothing

12 11/19/24 v v Dhobi Backpack

13 11/19/24 v v Photos of Dhobi Backpack and Contents

14 11/19/24 v v Photos of Patel Family from Dhobi's Backpack

15 11/19/24 v v Prescription in Dhobi's Backpack for Jagdish Patel

18 11/19/24 v v Arpitkumar Patel - Record of Deportable Alien
with Photo

19 11/19/24 v v Maheshbai Patel - Record of Deportable Alien
with Photo

20 11/19/24 v v Princekumar Chaudhari - Record of Deportable
Alien with Photo

21 11/19/24 v v Sumitkumar Patel - Record of Deportable Alien
with Photo

22 11/19/24 v v Yash Patel - Record of Deportable Alien with
Photo

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Doc.177 Filed 11/25/24 Page 2of3

EX. DATE
NO. | OFFERED MARKED | ADMITTED DESCRIPTION OF EXHIBIT
23 11/19/24 v v Varshil Dhobi - Record of Deportable Alien with
Photo
24 11/19/24 v v Priyanka Chaudhari - Record of Deportable Alien
with Photo
25 11/19/24 v v Arpitkumar Patel - Canadian Student Visa
26 11/19/24 v v Arpitkumar Patel - Passport
27 11/19/24 v v Maheshbai Patel and Priyanka Chaudhari Passport
28 11/19/24 v v Princekumar Chaudhari Passport
29 11/19/24 v v Sumitkumar Patel - Canadian Student Visa
30 11/19/24 v v Sumitkumar Patel Passport
31 11/19/24 v v Yash Patel - Canadian Student Visa
32 11/19/24 v v Yash Patel Passport
33 11/19/24 v v Varshil Dhobi - Canadian Student Visa
34 11/19/24 v v Varshil Dhobi Passport
35 11/19/24 v v Shand Samsung Galaxy A12 and $21
38 11/20/24 v v Harry Patel iPhone 13
39 11/20/24 v v Harry Patel Maryland ID
40 11/20/24 v v Photo of Harry Patel Maryland ID
42 11/20/24 v v Shand Cell Phone Extraction 1 - Samsung Galaxy
A-I Al2
43 11/20/24 v v Shand Cell Phone Extraction 2 - Samsung Galaxy
A-G $21
YY 11/20/24 v v Harry Patel iPhone 13 Extraction
46 11/20/24 v v Summary of Cell Phone Data
47 11/20/24 v v Priyanka Chaudhari Hospital Photographs
48 11/20/24 v v Priyanka Chaudhari Boots
49 11/20/24 v v Photos of Priyanka Chaudhari Boots
50 11/20/24 v v Priyanka Chaudhari Medical Records - Kittson
52 11/20/24 v v Priyanka Chaudhari Medical Records -
HealthPartners
53 11/19/24 v v Photo of Fenil Patel
54 11/20/24 v v RCMP Crime Scene Photos
55 11/20/24 v v D.P. Passport
56 11/20/24 v v V.P. Passport
57 11/20/24 v v Jagdish Patel Passport
58 11/20/24 v v Vaishaliben Patel Passport
59 11/20/24 v v Certified Copy of Patel A-File
60 11/21/24 v v Capital One Records - Haresh Patel
61 11/20/24 v v Bank of America Account 0875
62 11/20/24 v v Bank of America Account 3869
63 11/20/24 v v Bank of America Account 7033

2

CASE 0:22-cr-00040-JRT-LIB Doc.177 Filed 11/25/24 Page 3of3

DATE

NO. | OFFERED MARKED | ADMITTED DESCRIPTION OF EXHIBIT

64 11/20/24 v v Bank of America Account 8879

65 11/21/24 v v Enterprise Records

66 11/21/24 v v Avis Records

67 11/21/24 v v Hertz Records

68 11/21/24 v v Turo Records

69 11/21/24 v v Delta Records - Shand

70 11/21/24 v v Delta Records - Brown

71 11/21/24 v v Southwest Records

72 11/21/24 v v American Airlines Records

73 11/21/24 v v Summary of Airline Records

74 11/21/24 v v Summary of Bank of America Records

75 11/21/24 v v Summary of Car Rental Records

77 11/20/24 v v T-Mobile Subscriber Records for -0618

78 11/20/24 v v T-Mobile CDR for -0618

79 11/20/24 v v T-Mobile Subscriber Records for -2408

80 11/20/24 v v T-Mobile CDR for -2408

81 11/20/24 v v T-Mobile Subscriber Records for -5315
ao 11/20/24 v v T-Mobile CDR for -5315

83 11/20/24 v Verizon Subscriber Records for -1996
Me 11/20/24 v Verizon CDR for -1996

87 11/21/24 v v CAST PowerPoint

88 11/20/24 v v Patel Arrest Fingerprints

89 11/20/24 v v Summary of Calls between -0618 and -4952
90A | 11/19/24 v v Singh Contacts
90B | 11/19/24 v v Singh Travel Summary for Migrants
90C | 11/19/24 v v Singh Messages re Migrants with F.P.
90D | 11/19/24 v v Singh Messages with F.P. around January 19, 2022
90E | 11/19/24 v v Singh Photo of Yash Patel Passport from F.P.

